                                               Case 5:12-cv-00630-LHK Document 734 Filed 08/14/13 Page 1 of 1

                                                                                                                                                                                                                 Clear Form

  UNITED STATES DISTRICT COUI:T                                                                     TRANSCRIPT ORDER                                                                            COURT USE ONLY
 NORTHERN DISTRICT OF CALIFORNIA                                                           Please use one form per court reporter.                                                                 DUE DATE:
                 CAND 435                                                                     014 ccwrisel Owe we FONT! W424
            (0AND Rev. 03/2013)                                                             Please read instructions on next page.

1. NAME                                                                                            2. PHONE NUMBER                       3. EMAIL ADDRESS                                            4. TODAYS DATE

Victoria F. Maroulis                                                                               (650) 801-5022                        victoriamaroulis©quinnemanuel .0                            08/14/2013
4. MAILING ADDRESS:                                                                                5. CASE NAME                                                                                      6. CASE NUMBER
                         555 Twin Dolphin Drive, 5th Fl.
                         Redwood Shores, CA 94065                                                  Apple v. Samsung                                                                                   I2-CV-000630
                                                                                                   S. THIS TRANSCRIPT ORDER IS FOR:

7. COURT REPORTER NAME ( FOR FTR, LEAVE BLANK AND CHECK BOX)—k 0 FTR                                 APPEAL          / CRIMINAL            CI In forma pauperis (NOTE: Court order for transcripts must be attached)

Summer Fisher                                                                                      o NON-APPEAL      7 CIVIL               N CJA: Do not use this form; use Form CJA24


9. TRANSCRIPT(S) REQUESTED (Specify portion(s) and date(s) of proceeding(s) for which transcript is requested), format(s) & quantity and delivery type:


           HEARING(S) (OR PORTIONS OF HEARINGS)                                                     SELECT FORMAT(S) (NOTE: ECFaccess is included               c.        DELIVERY TYPE (Choose one per line)
                                                                                                    with purchase of PDF, text, paper or condensed.)


    DATE             JUDGE            TYPE                    PORTION                     PDF           TECl/ASCII    PAPER        CONDENSED    ECF ACCESS     ORDINARY    14-Day   EXPEDITED      DAILY       HOURLY    REALTI ME
                                                 If requesting less than full hearing,   (emaii)          (email)                    (email)       (web)       (30-day)              (7-day)      (Next day)   (2 hrs)
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10. ORDER & CERTIFICATION (11. & 12.) By signing below, F certify that I will pay all charges (deposit plus additional).

11. SIGNATURE                                                                                                                 12. DATE
                   /s/ Victoria Maroulis                                                                                                          08/14/2013
DISTRIBUTION:                                0 COURT COPY                                            0 TRANSCRIPTION COPY                                    0 ORDER RECEIPT                               0 ORDER COPY
